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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF FLORIDA
                             PENSACOLA DIVISION



ALANO BLANCO,
      Petitioner,

v.                                                  Case No. 3:21cv904-LC-HTC

M V JOSEPH WARDEN,
      Respondent.

                                            /

                                   ORDER

      This cause comes on for consideration upon the magistrate judge’s Report and

Recommendation dated August 26, 2021 (ECF No. 5). The parties have been

furnished a copy of the Report and Recommendation and have been afforded an

opportunity to file objections pursuant to Title 28, United States Code, Section

636(b)(1). No objections have been filed.

      Having considered the Report and Recommendation, I have determined that

it should be adopted.

      Accordingly, it is now ORDERED as follows:

      1.    The Magistrate Judge’s Report and Recommendation (ECF Doc. 5) is

            adopted and incorporated by reference in this order.
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     2.   The petition, ECF Doc. 1 is DISMISSED under Habeas Rule 4.

     3.   The Clerk is directed to close the file.

     DONE AND ORDERED this 28th day of September, 2021.


                             s /L.A. Collier
                             LACEY A. COLLIER
                             SENIOR UNITED STATES DISTRICT JUDGE




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